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1                                    UNITED STATES DISTRICT COURT

2                                           DISTRICT OF NEVADA

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      LANCE REBERGER,
4
                           Plaintiff(s),
5                                                          2:21-cv-01250-JAD-VCF
      v.                                                   REFERRAL TO PRO BONO PROGRAM
6     MICHAEL MINEV, ET AL.,
7                           Defendant(s).
8           This case is referred to the Pro Bono Program ("Program") adopted in General Order 2019-07 for
9    the purpose of screening for financial eligibility (if necessary) and identifying counsel willing to be
10   appointed as pro bono counsel for Lance Reberger. The scope of appointment will be for the limited
11   purpose of representation of Lance Reberger at the January 27, 2022 hearing. By referring this case to the
12   Program, the Court is not expressing an opinion as to the merits of the case. Accordingly,
13          IT IS HEREBY ORDERED that this case is referred to the Pro Bono Program for appointment
14   of counsel for the purposes identified herein.
15          IT IS FURTHER ORDERED that the Clerk forwards this order to the Pro Bono Liaison.
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17          DATED this 1st day of December, 2021.
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                                                                 CAM FERENBACH
19                                                               UNITED STATES MAGISTRATE JUDGE

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